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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

    IRA KLEIMAN, as the personal representative        CASE NO.: 9:18-cv-80176-BB
    of the Estate of David Kleiman, and W&K Info
    Defense Research, LLC

            Plaintiffs,

    v.

    CRAIG WRIGHT

            Defendant.

                                              ORDER

           This matter comes before the Court upon one of plaintiff’s counsel’s Motion to Withdraw,

   and it is hereby

           ORDERED and ADJUDGED that the motion is granted and Samantha Licata is relieved

   of further obligations in this case.

           DONE and ORDERED in Chambers at Miami-Dade County, Florida, this ______ day of

   November, 2023.




                                                   HON. BETH BLOOM
                                                   UNITED STATES DISTRICT JUDGE
